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INVESTOR ALERT

Ponzi Schemes Using Virtual Currencies
The SEC’s Office of Investor Education and Advocacy is           Look Out for Potential Scams
issuing this investor alert to warn individual investors about   Using Virtual Currency
fraudulent investment schemes that may involve Bitcoin and
other virtual currencies.                                        Virtual currencies, such as Bitcoin, have recently become
                                                                 popular and are intended to serve as a type of money.
Ponzi Schemes Generally                                          They may be traded on online exchanges for conventional
                                                                 currencies, including the U.S. dollar, or used to purchase
A Ponzi scheme is an investment scam that involves the           goods or services, usually online.
payment of purported returns to existing investors from
funds contributed by new investors. Ponzi scheme                 We are concerned that the rising use of virtual currencies
organizers often solicit new investors by promising to           in the global marketplace may entice fraudsters to lure
invest funds in opportunities claimed to generate high           investors into Ponzi and other schemes in which these
returns with little or no risk. In many Ponzi schemes,           currencies are used to facilitate fraudulent, or simply
rather than engaging in any legitimate investment                fabricated, investments or transactions. The fraud may
activity, the fraudulent actors focus on attracting new          also involve an unregistered offering or trading platform.
money to make promised payments to earlier investors             These schemes often promise high returns for getting in
as well as to divert some of these “invested” funds for          on the ground floor of a growing Internet phenomenon.
personal use. The SEC investigates and prosecutes many
Ponzi scheme cases each year to prevent new victims              Fraudsters may also be attracted to using virtual
from being harmed and to maximize recovery of assets             currencies to perpetrate their frauds because transactions
to investors.                                                    in virtual currencies supposedly have greater privacy
                                                                 benefits and less regulatory oversight than transactions in
As with many frauds, Ponzi scheme organizers often               conventional currencies. Any investment in securities in
use the latest innovation, technology, product or growth         the United States remains subject to the jurisdiction
industry to entice investors and give their scheme the           of the SEC regardless of whether the investment is made
promise of high returns. Potential investors are often less      in U.S. dollars or a virtual currency. In particular,
skeptical of an investment opportunity when assessing            individuals selling investments are typically subject
something novel, new or “cutting-edge.”                          to federal or state licensing requirements.




Investor Assistance (800) 732-0330                                                                         www.investor.gov


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                                                                    Q   Secretive and/or complex strategies and fee
      Bitcoin Ponzi Scheme. In a recent case, SEC v.                      structures. It is a good rule of thumb to avoid
      Shavers, the organizer of an alleged Ponzi scheme                   investments you don’t understand or for which you
      advertised a Bitcoin “investment opportunity” in                    can’t get complete information.
      an online Bitcoin forum. Investors were allegedly
      promised up to 7% interest per week and that the              Q   No minimum investor qualifications. Most legiti-
      invested funds would be used for Bitcoin arbitrage                  mate private investment opportunities require you to
      activities in order to generate the returns. Instead,               be an accredited investor. You should be highly skepti-
      invested Bitcoins were allegedly used to pay existing               cal of investment opportunities that do not ask about
      investors and exchanged into U.S. dollars to pay                    your salary or net worth.
      the organizer’s personal expenses.
                                                                    Q   Issues with paperwork. Be skeptical of excuses
                                                                          regarding why you can’t review information about
Common Red Flags of Fraud                                                 the investment in writing. Always read and carefully
                                                                          consider an investment’s prospectus or disclosure
Many Ponzi schemes share common characteristics.
                                                                          statement before investing. Be on the lookout for
Following are some red flags:
                                                                          errors in account statements which may be a sign
                                                                          of fraudulent activity.
Q   High investment returns with little or no risk.
      Every investment carries some degree of risk, and
                                                                    Q   Difficulty receiving payments. Be suspicious if
      investments yielding higher returns typically involve
                                                                          you don’t receive a payment or have difficulty cashing
      more risk. “Guaranteed” investment returns or
                                                                          out your investment. Ponzi scheme organizers some-
      promises of high returns for little risk should be
                                                                          times encourage participants to “roll over” promised
      viewed skeptically.
                                                                          payments by offering higher investment returns.
Q   Overly consistent returns. Investments tend to
                                                                    Q   It comes through someone with a shared
      go up and down over time, especially those seeking
                                                                          affinity. Fraudsters often exploit the trust derived
      high returns. Be suspect of an investment that
                                                                          from being members of a group that shares an affinity,
      generates consistent returns regardless of overall
                                                                          such as a national, ethnic or religious affiliation.
      market conditions.
                                                                          Sometimes, respected leaders or prominent members
                                                                          may be enlisted, knowingly or unknowingly, to
Q   Unregistered investments. Ponzi schemes typi-
                                                                          spread the word about the “investment.”
      cally involve investments that have not been registered
      with the SEC or with state securities regulators.

Q   Unlicensed sellers. Federal and state securities
      laws require certain investment professionals and
      their firms to be licensed or registered. Many Ponzi
      schemes involve unlicensed individuals or unregis-
      tered firms.



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Where can I go for help?
                                                                    Additional Information
If you have a question or concern about an investment,
or you think you have encountered fraud, please contact   For more information about Ponzi schemes, visit
the SEC, FINRA or your state securities regulator to      sec.gov/answers/ponzi.htm.
report the fraud and to get assistance.
                                                          For a list of SEC enforcement actions against
U.S. Securities and Exchange Commission                   Ponzi schemes, visit sec.gov/spotlight/enf-actions-
Office of Investor Education and Advocacy                 ponzi.shtml.
100 F Street, NE
Washington, D.C. 20549-0213                               For more information about being an accredited
(800) 732-0330                                            investor, visit sec.gov/answers/accred.htm.
sec.gov
investor.gov                                              For our publication about affinity fraud, visit
                                                          investor.gov/sites/default/files/Affinity-Fraud.pdf.
Financial Industry Regulatory Authority (FINRA)
FINRA Complaints and Tips                                 For our Investor Alert about social media and
9509 Key West Avenue                                      investing, visit sec.gov/investor/alerts/socialmedia
Rockville, Maryland 20850                                 andfraud.pdf.
(301) 590-6500
www.finra.org/Investors/                                  For additional investor educational information,
                                                          see the SEC’s website for individual investors,
North American Securities Administrators Association      investor.gov.
(NASAA)
750 First Street, NE
Suite 1140
Washington, D.C. 20002
(202) 737-0900                                            The Office of Investor Education and Advocacy
www.nasaa.org                                             has provided this information as a service to
                                                          investors. It is neither a legal interpretation nor
                                                          a statement of SEC policy. If you have questions
                                                          concerning the meaning or application of a
                                                          particular law or rule, please consult with an
                                                          attorney who specializes in securities law.




                                                                                            SEC Pub. No. 153 (7/13)


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